                  Case 18-11736-KG              Doc 750        Filed 05/21/19         Page 1 of 2



                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE

    In re                                                 Chapter 7
                                                          Case No.: 18-11736 (KG)
                                                          (Jointly Administered)
    Heritage Home Group, LLC, et al.,1
                                                          RE: Docket Nos. 217, 395, 724
                              Debtors.                    Hearing Date: June 17, 2019 at 11:00 a.m.
                                                          Objection Due by June 10, 2019 at 4:00 p.m.


     NOTICE OF HEARING UPON HHG IPCO, LLC’S MOTION TO COMPEL
  COMPLIANCE WITH THE ORDER (I) APPROVING THE ASSET PURCHASE
         AGREEMENT BETWEEN THE DEBTORS AND THE PURCHASER,
       (II) APPROVING THE SALE OF THE ACQUIRED ASSETS FREE AND
             CLEAR OF ALL LIENS, CLAIMS, AND ENCUMBRANCES,
 (III) AUTHORIZING THE ASSUMPTION AND ASSIGNMENT OF EXECUTORY
CONTRACTS AND UNEXPIRED LEASES; AND (IV) GRANTING RELATED RELIEF

TO ALL PARTIES VIA CM/ECF NOTICE:

            PLEASE TAKE NOTICE that upon the motion [D.I. 724] (the “Motion”) of HHG IPCo,

LLC, for entry of an order, pursuant to sections 105 and 363 of title 11 of the United States Code,

11 U.S.C. §§ 101–1532, Rules 2002, 6004 and 9013 of the Federal Rules of Bankruptcy Procedure,

and Local Rules 2002-1, 6004-1, and 9013-1(m) of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware, compelling the

Trustee (as defined in the Motion) of Heritage Home Group, LLC and its affiliates, the debtors in

the above-captioned chapter 7 cases to perform pursuant to the Order (i) Approving the Asset

Purchase Agreement Between the Debtors and the Purchaser, (ii) Approving the Sale of the

Acquired Assets Free and Clear of All Liens, Claims, and Encumbrances, (iii) Authorizing the

Assumption and Assignment of Executory Contracts and Unexpired Leases; and (iv) Granting


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         The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
Heritage Home Group LLC (9506); HH Global II B.V. (0165); HH Group Holdings US, Inc. (7206); HHG Real
Property LLC (3221); and HHG Global Designs LLC (1150). The Debtors’ corporate headquarters is located at 1925
Eastchester Drive, High Point, North Carolina 27265.
               Case 18-11736-KG         Doc 750      Filed 05/21/19    Page 2 of 2



Related Relief [D.I. 395], HHG IPCo, LLC (“IPCo” or the “Purchaser”) will move before the

Honorable Kevin Gross, United States Bankruptcy Judge, at the United States Bankruptcy Court,

824 North Market Street, 6th Floor, Courtroom #3, Wilmington, DE 19801, on the 17th day of

June, 2019 at 11:00 a.m. (ET) (the “Hearing”), or as soon thereafter as counsel may be heard, for

an order granting the relief requested in the Motion.

       PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief sought in the

Motion must be made in writing, filed with the Court electronically and served on the undersign

counsel so as to be received by June 10, 2019 at 4:00 p.m.

       PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

DEMANDED BY THE MOTION WITHOUT FURTHER NOTICE OF HEARING.


 Dated: May 21, 2019                                 CKR Law LLP
        Wilmington, Delaware

                                                     /s/ Gilbert R. Saydah, Jr.
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